Case 2:21-cv-07705-DOC-PD Document 7 Filed 11/15/21 Page 1 of 2 Page ID #:213

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-07705-DOC-PD                                    Date: November 15, 2021
Title       J. G., et al. v. Palos Verdes Unified School District, et al.,



Present: The Honorable:               Patricia Donahue, U.S. Magistrate Judge


                Isabel Martinez                                      N/A
                 Deputy Clerk                              Court Reporter / Recorder

    Attorneys Present for Plaintiffs:                Attorneys Present for Defendants:
                 N/A                                               N/A

Proceedings:           (In Chambers) Order to Show Cause Re: Dismissal

       On September 27, 2021, Plaintiffs J.G., a minor, by and through his
parent Richard Ginsburg, proceeding pro se, filed a Complaint pursuant to 42
U.S.C. § 1983 and 28 U.S.C. §§ 1331, 1343(a)(3), (4), 1367, and 2201, alleging
violations of various rights under the United States Constitution and the
California Constitution, in connection with Defendant Palos Verdes
Peninsula Unified School District’s (“PVPUSD”) mask requirement. [Dkt. No.
1 at 1, 3, 7.] Plaintiffs name the PVPUSD, Dr. Alex Cherniss, Matthew
Brach, Linda Reid, Richard Phillips, Ami Gandhi, and Megan Crawford as
Defendants in both their individual and official capacities. [Id. at 2-3.]

       On October 6, 2021, the Court dismissed the Complaint with leave to
amend. [Dkt. No. 6.] Plaintiff Richard Ginsburg, proceeding pro se, was
advised that he could not pursue this case on behalf of minor child, J. G. If
Plaintiff J. G. wishes to proceed in this action he must be represented by
counsel. The Court ordered Plaintiff Richard Ginsburg to file, no later than
November 2, 2021, a First Amended Complaint that corrected the defects
identified by the Court in its October 6, 2021 Order. [Id.] The deadline for
the filing of Plaintiff’s First Amended Complaint has passed, and Plaintiff
has neither filed his First Amended Complaint nor communicated with the
Court about his case since September 30, 2021.



CV-90 (03/15)                          Civil Minutes – General                      Page 1 of 2
Case 2:21-cv-07705-DOC-PD Document 7 Filed 11/15/21 Page 2 of 2 Page ID #:214

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-07705-DOC-PD                                    Date: November 15, 2021
Title       J. G., et al. v. Palos Verdes Unified School District, et al.,

       Pursuant to Rule 41(b) of the Federal Rules of Civil Procedure, an
action may be subject to involuntary dismissal if a plaintiff “fails to prosecute
or to comply with these rules or a court order.” Accordingly, the Court could
properly recommend dismissal of the action for Plaintiff’s failure to timely
comply with the Court’s October 6, 2021 Order.

      However, in the interests of justice, Plaintiff is ORDERED TO
SHOW CAUSE on or before November 29, 2021, why the Court should
not recommend that this action be dismissed for failure to prosecute.

        Plaintiff may discharge this Order by filing:

               (1) a request setting forth good cause for an extension of time to
        file a First Amended Complaint and a declaration signed under penalty
        of perjury, explaining why he failed to comply with the Court’s October
        6, 2021 Order; or
               (2) a First Amended Complaint.

       Alternatively, if Plaintiff does not wish to pursue this action, he may
file a signed document entitled “Notice of Voluntary Dismissal” pursuant to
Rule 41(a)(1)(A). The Clerk is directed to provide Plaintiff with a
Form CV-09 Notice of Dismissal.

      Plaintiff is advised that the failure to timely comply with this order
may result in the dismissal of this case pursuant to Fed. R. Civ. P. 41(b) and
Local Rule 41-1.

IT IS SO ORDERED.



                                                        Initials of Preparer      :
                                                                                 im




CV-90 (03/15)                          Civil Minutes – General                        Page 2 of 2
